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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

   UNITED STATES OF AMERICA

   v.                                     Case No. 2:15-cr-146-FtM-38CM

   BRADLEY WES GAMBILL
   TAYLOR MARIE AMMONS
   DOMINIC MAURICE LYNCH
   _______________________________

                     FINAL JUDGMENT OF FORFEITURE

         THIS CAUSE comes before the Court upon the United States= Motion

   for a Final Judgment of Forfeiture, pursuant to 21 U.S.C. § 853(n)(7) and

   Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, for a Final

   Judgment of Forfeiture for the Canon all-in-one copier, scanner, printer.

         The Court entered Preliminary Orders of Forfeiture for the printer

   described above as to defendant Dominic Maurice Lynch, Taylor Marie

   Ammons, and Bradley Wes Gambill, pursuant to 18 U.S.C. § 492 and 28

   U.S.C. § 2461(c). Docs. 179, 182, 183.

         The Court finds that in accordance with 21 U.S.C. ' 853(n) and Rule

   32.2(b)(6)(C), the United States published notice of the forfeiture and of its

   intent to dispose of the printer on the official government website,

   www.forfeiture.gov, from October 13, 2016 through November 11, 2016.

   Doc. 186.    The publication gave notice to all third parties with a legal
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   interest in the printer to file with the Clerk of Court, U.S. Federal Courthouse

   and Federal Building, 2110 First Street, Room 2-194, Fort Myers, FL 33901,

   a petition to adjudicate their interest within 60 days of the first date of

   publication. No third party has filed a petition or claimed an interest in the

   printer, and the time for filing such petition has expired.

         Accordingly, it is hereby:

         ORDERED, ADJUDGED, and DECREED that for good cause shown,

   the United States= motion is GRANTED.

         It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7) and

   Federal Rule of Criminal Procedure 32.2(c)(2), all right, title and interest in

   the printer identified above is CONDEMNED and FORFEITED to the United

   States for disposition according to law.

         Clear title to the printer is now vested in the United States of America.

         ORDERED in Fort Myers, Florida, on December 16, 2016.




   Copies to: All Parties/Counsel of Record




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